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                            SOUTHERN DISTRICT OF OHIO
                                   EASTERNDIVISION                         li ^ ni^TRtCS CCUR'[

 UNITEDSTATES OF AMERICA
                                                      CASE NO. 2:23-CR-147

        V.                                            JUDGE WATSON

                                                      SUPERSEDINGINFORMATION
 MOHAMED FARAH WAES
                                                      18 U. S.C. § 248(a)(l)
                                                      18 U. S.C. § 875(c)
                                                      18 U. S.C. § 1956(h)
                                                      FORFEITUREALLEGATION


THE UNITED STATES ATTORNEY CHARGES:



                                GENERAL ALLEGATIONS

       At all times relevantto this SupersedingInfonnation:

       1.     The defendant, MOHAMED FARAH WAES ("WAES"), resided in or near

Columbus, Ohio,withinthe SouthernDistrictofOhio.

       2.     Planned Parenthood of Greater Ohio (PPGOH) operates medical facilities

throughout Ohio, including in Columbus, Ohio, that provide reproductive healthcare services,

including abortion services. PPGOH maintains a website which clearly identifies the services it

provides.

       3.     L.L. is a call center agent employed by the Clinical Health Network for

Transformation (CHN) to answer incoming telephone calls to PPGOH.
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                                            COUNT 1
                   nterference with Access to Re reductive Health Services

       4.      Paragraphs 1 through 3 are incorporatedhere.

       5.      On or about July 5, 2022, in the Southern District of Ohio, the defendant,

MOHAMED FARAH WAES, by threat of force, intentionally intimidated and interfered with,

and attempted to intimidate and interfere with, L.L. and the employees of PPGOH, because

PPGOH was and had been providing reproductive health services, and in order to intimidate L.L.

and the employees ofPPGOH from providing reproductive health services.

       All in violation of Title 18, United States Code, Section 248(a)(l).

                                            COUNT 2
                                        nterstate Threats

       6.      Paragraphs 1 through 3 are incorporatedhere.

       7.      On or about July 5, 2022, in the Southern District of Ohio, and elsewhere, the

defendant, MOHAMED FARAH WAES, knowingly and willfully transmitted in interstate and

foreign commerce, a communication, which contained a threat to injure another person, to wit:

WAES contacted PPGOH by telephone, spoke with L.L., and indicated that he would bum down

a PPGOH facility and everyone in it, or words to that effect.

       All in violation ofTitle 18, United States Code, Section 875(c).
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                                          COUNT 3
                          Cons irac to Commit Mone Launderin

       8.     DefendantMOHAMEDFARAHWAESestablishedandcausedto be established

three businesses by filing paperwork with the Ohio Secretary of State. These businesses were

Malipow LLC, Heartland Recycling Inc., and Senga Engineering Inc.

       9.     DefendantMOHAMEDFARAB WAES established a bank account in the name

ofMalipow LLC. The account was a Fifth Third Bank account with an account number ending in

x2266. This Superseding Information will hereafter describe this account as "the Malipow Fifth

Third Bank account."

       10.    DefendantMOHAMEDFARAH WAES establisheda bank account in the name

ofHeartland Recycling Inc. The account was a Fifth Third Bank account with anaccount number

ending m x9494. This Superseding Information will hereafter describe this account as "the
HeartlandFifth Third Bank account."

       11.    DefendantMOHAMEDFARAH WAES established a bank account in the name

of SengaEngineering Inc. The account was a Fifth Third Bank account with an account number

ending in x5277. This Superseding Information will hereafter describe this account as "the Senga
Fifth Third Bank account."

       12.    From at least March 21, 2019, through at least March 4, 2020, in the Southern

District of Ohio and elsewhere, Defendant MOHAMED FARAH WAES did knowingly

combine, conspire, and agree with other persons known and unknown to the Grand Jury to commit

offenses againsttheUnited States in violation of 18U. S.C. §§ 1956 and 1957-namely:

              a.       to knowingly conduct and attempt to conduct financial transactions

       affecting interstate commerce and foreign commerce, which transactions involved the

       proceeds of specified unlawful activity-namely, wire fraud-knowing that the
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       transactions were designed in whole and inpart to conceal and disguise the nature, location,

       source, ownership, and control of the proceeds of specified unlawful activity, and that

       while conducting andattempting to conduct suchfinancial transactions, knew that the

       property involved in the financial transactions represented the proceeds of some form of

       unlawful activity, in violation of 18 U. S.C. § 1956(a)(l)(B)(i); and

                b.    to knowingly engage and attempt to engage, in monetary transactions by,

       through or to a financial institution, affecting interstate and foreign commerce, in

       criminally derived property of a value greater than $10,000, such property having been

       derived from a specified unlawful activity-namely, wire iraud-in violation of 18 U. S. C.

       §1957.

                     MANNER AND MEANS OF THE CONSPIRACY

       13.      It waspart ofthe conspiracy thatDefendant MOHAMED FARAH WAESwould

launder and attempt to launder the proceeds of business email compromise ("BEC") scams. The

perpetrators ofthe scams created fake email domains which mimicked legitimate email domains.
The scammers then sent emails from these domains to various companies impersonating vendors

and asking that payments be made on actual invoices. The victim companies were instructed to

send and did send the payments to the bank accounts conti-olled by Defendant MOHAMED

FARAHWAESandothers. Thefundswerenotusedforthepurposesclaimedbytheperpetrators

of the scams.

        14.     It was further part ofthe conspiracy that Defendant MOHAMED FARAH WAES

used businesses in his control-namely, Malipow LLC, Heartland Recycling Inc., and Senga

Engineering Inc. -to launder criminal BEG proceeds.

        15.     It was further part ofthe conspiracy that Defendant MOHAMED FARAH WAES

established bank accounts to launder and attempt to launder criminal EECproceeds-namely, the
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MalipowFifthThird Bankaccount, theHeartland Fifth Third Bankaccount, andthe SengaFifth
Third Bank account.


        16.    It wasfurtherpart ofthe conspiracy thatDefendantMOHAMED FARAH WAES

received proceeds from BEC scams, directly or indirectly, into the Malipow Fifth Third Bank

account, the Heartland Fifth Third Bank account, and the Senga Fifth Third Bank account.

        17.    It was further part ofthe conspiracy that Defendant MOHAMED FARAH WAES

repeatedly withdrew cash via teller withdrawals and ATM withdrawals, knowing that these
financial transactions were designed to conceal and disguise the nature, location, source,

ownership, and control ofthe proceeds ofEEC fraud.

        18.    It was furtherpart ofthe conspiracy thatDefendantMOHAMED FARAH WAES

repeatedly sent funds to coconspirators, including by remitting cashier's checks, knowing that
these financial transactions were designed to conceal and disguise the nature, location, source,

ownership, and control of the proceeds ofBEC fraud.

        19.    It was further part ofthe conspiracy that Defendant MOHAMED FARAH WAES

received a percentage of the funds he laundered as payment for his money laundering activities.

During the period ofthe conspiracy, Defendant MOHAMED FARAH WAES made significant

purchases at SaksFifth Avenue, Macy's, Ruth's Chris SteakHouse, Marriott Hotels, andDelta
Air Lines.

       All in violation of Title 18, United States Code, Section 1956(h).

                                  FORFEITUREALLEGATION

       20.      Paragraphs 8 through 19 are incorporated here.

        21.     Upon conviction of the offense as alleged in Count 3 of this Superseding
Information in violation of 18 U. S.C. § 1956(h), the defendant, MOHAMED FARAH WAES,

shall forfeit to the United States, pursuant to 18 U. S. C. § 982(a)(l), any property, real or personal,
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involved in the offense as alleged in Count 3, or any property traceable to such property, including

a sum ofmoney equalto $273, 982. 08 inUnited States Currency inthe form ofa forfeiture money

judgment.

       22.     If, as a result of any act or omission ofDefendant MOHAMED FARAH WAES,

the forfeitable property so described, or anyportion thereof cannot be located upon the exercise of

due diligence; has been ti-ansferred or sold to, or deposited with a third party; has been placed

beyond the jurisdiction of the court; has been substantially diminished in value; or has been

commingled with otherproperty which cannot be dividedwithout difficulty, it is the intent ofthe

United States, pursuant to 21 U. S. C. § 853(p) as incorporated by 18 U. S. C. § 982(b)(l), to seek

forfeiture of any other property of Defendant MOHAMED FARAH WAES up to the value of

the subjectproperty.

       Forfeiturein accordancewith 18 U.S.C. § 982(a)(l) and Rule 32.2 ofthe Federal
Rules of Criminal Procedure.


                                              KENNETH L. BARKER
                                              United States Attorney


                                                                                          ^v^t-
                                                   NIF      RAUSC       0 7    38
                                              PETERK. GLENN- P                 ATE (0088708)
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                                              Trial Attorney
